Case 1:19-cv-14766-RMB-JBC   Document 639     Filed 05/14/25    Page 1 of 8 PageID:
                                  26688



                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


 NEW JERSEY DEPARTMENT OF                   Case No. 1:19-cv-14766-RMB
 ENVIRONMENTAL PROTECTION,
 et al.,                                    Bench Trial No. 1

                        Plaintiffs,

                  v.

 E.I. DU PONT DE NEMOURS AND
 COMPANY, et al.,

                        Defendants.
Case 1:19-cv-14766-RMB-JBC       Document 639      Filed 05/14/25   Page 2 of 8 PageID:
                                      26689



   SUPPLEMENTAL JOINT FINAL PRETRIAL ORDER [FILED WITH
             LEAVE OF THE SPECIAL MASTER]


      Pursuant to leave of court granted by Special Master Schneider, the following

shall constitute the Supplemental Final Pretrial Order pursuant to Rule 16, Federal

Rules of Civil Procedure. This Supplemental Final Pretrial Order, along with the

Final Pretrial Order filed on May 12, 2025 (Dkt. 637), shall govern the conduct of

the first “mini” trial of this case (Dkt. 613). Consistent with Case Management Order

No. 8 and the Special Master’s instructions during the May 6, 2025 final pretrial

conference, this Supplemental Final Pretrial Order addresses only the trial of liability

under Count 1 (Spill Act) and Count 4 (Brownfield and Contaminated Site

Remediation Act) of the Third Amended Complaint against Defendant EIDP, Inc.,

f/k/a E. I. du Pont de Nemours and Company (“EIDP”). Separate Pretrial Orders will

be entered regarding the remaining claims and issues.




                                           1
Case 1:19-cv-14766-RMB-JBC      Document 639     Filed 05/14/25   Page 3 of 8 PageID:
                                     26690



INDEX OF EXHIBITS AND APPENDICES.

 Exhibit      Supplemental         Description
              Final Pretrial
              Order Section

 4A-1        Part VI               Plaintiffs’ corrected deposition designations
 [Corrected]
 4A-6
 4A-7
 6A          Part VIII(A)          Plaintiffs’ exhibits

 6B           Part VIII(B)         EIDP’s exhibits

 6C           Part VIII(B)         Common exhibits


PART VI. TESTIMONY BY DEPOSITION

      1.     The parties incorporate the paragraphs from Part VI of the Final Joint

Pretrial Order herein.

      2.     After identifying an error in pagination for two deposition transcripts,

Special Master Schneider granted Plaintiffs leave to amend their designations and

for EIDP to amend their counter-designations and objections to those transcripts.

The corrected designations are contained in Exhibit 4A-1 [Corrected], and EIDP’s

objections and counter designations to Plaintiffs’ corrected designations are

contained in Exhibits 4A-6 and 4A-7.

PART VIII. EXHIBITS

      3.     The parties incorporate the paragraphs from Part VIII of the Final Joint

Pretrial Order herein.

                                         2
Case 1:19-cv-14766-RMB-JBC       Document 639      Filed 05/14/25    Page 4 of 8 PageID:
                                      26691



      4.     Plaintiffs’ Exhibit List is contained within Exhibit 6A, and EIDP’s

Exhibit List is contained within Exhibit 6B.

      A. Common Exhibits

      5.     The exhibits that the parties have agreed that any of them may offer at

trial are listed in Exhibit 6C (except demonstrative exhibits and exhibits to be used

solely for impeachment). Any party may move to have an exhibit(s) on the Common

Exhibit List admitted into evidence. By agreeing to the inclusion of an exhibit on the

Common Exhibit List, no party is (a) making any admission concerning the

relevance or contents of the exhibit, or (b) assenting to the use of an exhibit for any

and all purposes.

                        CONCLUDING CERTIFICATION

      We hereby certify by the affixing of our signatures to this Supplemental Final

Pretrial Order that it reflects the efforts of all counsel and that we have carefully and

completely reviewed all parts of this Order prior to its submission to the Court.

Further, it is acknowledged that amendments to this Final Pretrial Order will not be

permitted except where the Court determines that manifest injustice would result if

amendment is not allowed.




                                           3
Case 1:19-cv-14766-RMB-JBC     Document 639     Filed 05/14/25   Page 5 of 8 PageID:
                                    26692



It is hereby ORDERED this 14th day of May, 2025, that the foregoing Supplement

JFPTO is APPROVED.



Reviewed and Approved this 14th day of May, 2025

/s/ Joel Schneider

Hon. Joel Schneider (Ret.), Special Master



COUNSEL FOR PLAINTIFFS:

      MATTHEW J. PLATKIN
      ATTORNEY GENERAL OF NEW JERSEY
      Attorney for Plaintiffs
      By: /s/ Gwen Farley
      Gwen Farley
      Deputy Attorney General
      R.J. Hughes Justice Complex
      25 Market Street
      P.O. Box 093
      Trenton, New Jersey 08625-0093
      Ph. (609) 376-2740

      KELLEY DRYE & WARREN LLP
      Special Counsel to the Attorney General

      By: /s/ Geoffrey W. Castello
      Geoffrey W. Castello, Esq.
      One Jefferson Road
      Parsippany, New Jersey 07054
      Tel.: (973) 503-5900
      GCastello@KelleyDrye.com

      *William J. Jackson, Esq.

                                        4
Case 1:19-cv-14766-RMB-JBC     Document 639   Filed 05/14/25   Page 6 of 8 PageID:
                                    26693



      *John D.S. Gilmour, Esq.
      *Lana M. Rowenko, Esq.
      *Jennifer C. Barks. Esq.
      *Fanny Turcios, Esq.
      515 Post Oak Blvd. Suite 900
      Houston, Texas 77027
      Ph. (713) 355-5000

      *David Zalman, Esq.
      David M. Reap, Esq.
      3 World Trade Center
      175 Greenwich Street
      New York, New York 10007
      Tel.: (212) 808-7800
      DReap@KelleyDrye.com

      LAW OFFICES OF JOHN K. DEMA, P.C.
      Special Counsel to the Attorney General

      By:   *John K. Dema, Esq.
            Scott E. Kauff, Esq.
            *John T. Dema, Esq.
            *Briana Dema, Esq.
            Alex Latanision, Esq.
          *Elizabeth B. Petersen, Esq.
      1236 Strand Street, Suite 103
      Christiansted, St. Croix
      U.S. Virgin Islands 00820-5034
      Ph. (340) 773-6142

      TAFT STETTINIUS & HOLLISTER LLP
      Special Counsel to the Attorney General

      *Robert A. Bilott, Esq.
      425 Walnut Street, Suite 1800
      Cincinnati, OH 45202-3957
      Telephone: (513) 381-2838
      Facsimile: (513) 381-0205
      bilott@taftlaw.com


                                         5
Case 1:19-cv-14766-RMB-JBC    Document 639   Filed 05/14/25   Page 7 of 8 PageID:
                                   26694



      *David J. Butler, Esq.
      41 S. High Street
      Suite 1800
      Columbus, OH 43215-6106
      Telephone: (614) 221-2838


COUNSEL FOR EIDP:

      By: /s/ Lanny S. Kurzweil
      Lanny S. Kurzweil
      Ryan A. Richman
      MCCARTER & ENGLISH
      Four Gateway Center
      100 Mulberry Street
      Newark, NJ 07102
      (973) 639-2044
      rrichman@mccarter.com
      lkurzweil@mccarter.com

      Ann Marie Duffy (Admitted PHV)
      Eric G. Lasker (Admitted PHV)
      Matthew J. Malinowski (Admitted PHV)
      Marchello D. Gray (Admitted PHV)
      David I. Schifrin (Admitted PHV)
      Hollingsworth LLP
      1350 I Street, NW
      Washington, DC 20005
      (202) 898-5800
      aduffy@hollingsworthllp.com
      elasker@hollingsworthllp.com
      mmalinowski@hollingsworthllp.com



COUNSEL FOR 3M:

      By: /s/Donald J. Camerson, II
      Donald J. Camerson, II, Esq.
      James W. Crowder, IV, Esq.

                                      6
Case 1:19-cv-14766-RMB-JBC    Document 639    Filed 05/14/25   Page 8 of 8 PageID:
                                   26695



      BRESSLER, AMERY & ROSS, P.C.
      325 Columbia Turnpike
      Florham Park, NJ 07932
      (973) 514-1200
      djcamerson@bressler.com
      jcrowder@bressler.com

      Andrew J. Calica, Esq. (admitted PHV)
      KING & SPALDING LLP
      1185 Avenue of the Americas
      New York, NY 10036
      (212) 790-5390
      acalica@kslaw.com

      George C. Lombardi, Esq. (admitted PHV)
      Christopher B. Essig, Esq. (admitted PHV)
      Reid F. Smith, Esq. (admitted PHV)
      WINSTON & STRAWN LLP
      35 W. Wacker Dr.
      Chicago, IL 60601
      (312) 558-5600
      glombard@winston.com
      cessig@winston.com
      rfsmith@winston.com

      Timothy F. Daniels
      Carlos A. Benach
      Madison A. Sharko
      IRWIN FRITCHIE URQUHART MOORE & DANIELS LLC
      400 Poydras Street, Suite 2700
      New Orleans, LA 70130
      (504) 310-2224
      Tdaniels@irwinllc.com
      cbenach@irwinllc.com
      msharko@irwinllc.com




                                       7
